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   8                                UNITED STATES DISTRICT COURT
   9                               CENTRAL DISTRICT OF CALIFORNIA
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  11   ORLANDO GARCIA,                               ) CASE NO.: CV 20-11426-GW-AFMx
                                                     )
  12          Plaintiff                              ) JUDGMENT
                                                     )
  13          vs.                                    )
                                                     )
  14   DUQUESNE PROPERTIES, LLC,                     )
                                                     )
  15          Defendant.                             )
                                                     )
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  17          Pursuant to the Offer of Judgment, and the Acceptance of Offer of Judgment, filed on April
  18   26, 2021, Judgment is entered for Plaintiff and against Defendant, pursuant to the conditions set for
  19   in the Offer of Judgment.
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  22   DATE: April 28, 2021                                         /s/ Javier Gonzalez
                                                                     Clerk of the Court
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